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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Husch Blackwell, LLP                    )
                                        )
              Plaintiff,                )
                                        )
v.                                      )      Case No. 1:18-cv-01213-APM
                                        )
United States Environmental,            )
Protection Agency                       )
               Defendant.               )


                                 ENTRY OF APPEARANCE


       COMES NOW Matthew P. Diehr and hereby enters his appearance as counsel for

Plaintiff Husch Blackwell LLP.

                                        Respectfully submitted,

                                        HUSCH BLACKWELL LLP


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